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                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

RENEE VARGAS,                              :      Civil No. 1:19-CV-1858
                                           :
                   Plaintiff               :
                                           :
     v.                                    :
                                           :      ( Magistrate Judge Carlson)
ANDREW SAUL,                               :
Commissioner of Social Security,           :
                                           :
                   Defendant               :


                                    ORDER

     AND NOW, this 13th day May, 2020, in accordance with the accompanying

Memorandum Opinion, IT IS HEREBY ORDERED THAT:

     1. The Clerk shall enter final judgment AFFIRMING the decision of the

          Commissioner of Social Security; and,

     2. The Clerk of Court shall CLOSE this case.



                                                  s/Martin C. Carlson
                                                  Martin C. Carlson
                                                  United States Magistrate Judge
